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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

NATHSON FIELDS,                             )
                                            )
                           Plaintiff,       )
                                            )
                  v.                        )       No. 10 C 1168
                                            )
CITY OF CHICAGO, et al.,                    )
                                            )       Judge Kennelly
                           Defendants,      )
                                            )
                   v.                       )
                                            )
UNITED STATE PAROLE COMMISSION,             )
                                            )
                           Respondent.      )

                       AFFIDAVIT OF ASSISTANT
             UNITED STATES ATTORNEY WILLIAM R. HOGAN Jr.



                                         Respectfully submitted,

                                         ZACHARY T. FARDON
                                         United States Attorney

                                         By: s/James M. Kuhn Sr.
                                            JAMES M. KUHN SR.
                                            Assistant United States Attorney
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STATE OF ILLINOIS              )
                               )          SS
COUNTY OF COOK                 )
                                          AFFIDAVIT

       I, William R. Hogan, Jr., being duly sworn, state the following:

       1.      On January 9, 2015, I executed and submitted an affidavit regarding the decision

by the United States Parole Commission to grant federal parole to inmate Earl Hawkins. Among

other things, I stated in that affidavit that “At no time have I ever contacted the Parole

Commission on Hawkins’s behalf, other than writing the July 7 letter describing his cooperation,

as required by his federal 1989 plea agreement.” Affidavit ¶ 16.

       2.      In addition, at no time have I ever been contacted by the Parole Commission

regarding Hawkins, or any other inmate, at any time, in any manner, or for any purpose.

       3.      The only contact I have ever had of any nature with the Parole Commission was

the July 7 letter described in my January 9 affidavit, which I transmitted to the Department of

Justice Office of Enforcement Operations so that they could transmit it to the Parole

Commission, which occurred on July 21, 2014.

       4.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on February 3, 2015.

                                               /s/ William R. Hogan, Jr.
                                               William R. Hogan, Jr.
                                               Assistant United States Attorney




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